Denied and Opinion Filed August 19, 2024




                                    S  In The
                            Court of Appeals
                     Fifth District of Texas at Dallas
                               No. 05-24-00953-CV

                        IN RE SEBRA PROUTT, Relator

          Original Proceeding from the 382nd Judicial District Court
                           Rockwall County, Texas

                        MEMORANDUM OPINION
                  Before Justices Pedersen, III, Smith, and Garcia
                         Opinion by Justice Pedersen, III
      Before the Court is relator’s August 13, 2024 petition for writ of mandamus.

Relator asks this Court to compel the trial court to make findings on her petition

for writ of habeas corpus.

      Relator’s petition does not comply with the Texas Rules of Appellate

Procedure in numerous respects. See TEX. R. APP. P. 52.1; TEX. R. APP. P. 52.3(a)–

(d)(3), (e)–(j), (k)(1)(A); TEX. R. APP. P. 52.7(a). Thus, relator’s petition does not

meet the requirements of the Texas Rules of Appellate Procedure for consideration

of mandamus relief. See In re Guillaume, No. 05-24-00765-CV, 2024 WL

3548511, at *1 (Tex. App.—Dallas July 26, 2024, orig. proceeding) (mem. op.)
(denying mandamus relief based on relator’s failure to comply with several Texas

Rules of Appellate Procedure).

      Accordingly, we deny relator’s petition.




                                             /Bill Pedersen, III/
                                             BILL PEDERSEN, III
240953F.P05                                  JUSTICE




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